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                        IN THE UNTED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                             CASE NO. 10-21612-CIV-ALTONAGA

  PALADIN SHIPPING
  COMPANY, LTD., et al.,

         Plaintiffs/Judgment Creditors,
  vs.

  LEON GOLDSTEIN,

        Defendant/Judgment Debtor.
  ________________________________/

  75 RETAIL ENTERPRISES,
  INC., et al,

        Supplemental Parties.
  ________________________________/


                                              ORDER

         THIS CAUSE is before the Court on Plaintiffs/Judgment Creditors’ (the “Judgment

  Creditors[’]”) Motion for Writ of Execution . . . (the “Motion for Writ”) [ECF No. 215], filed

  March 15, 2013, which was granted on April 3, 2013 (see April 3 Order [ECF No. 224]).

  Defendant, Leon Goldstein (“Defendant”) holds and owns 33% of 75 Retail Enterprises, Inc.

  (“75 Retail”), 40 Retail Corporation (“40 Retail”), Century Drive Retail Corporation (“Century

  Drive”), Sterlington Retail Corporation (“Sterlington”), Texarkana Retail Corporation

  (“Texarkana”); and 100% of       Pinnacle Three Corporation, (Illinois) (“Pinnacle Ill.”), and

  Pinnacle Three Corporation, (Florida) (“Pinnacle Fla.”). It is uncertain whether shares in these

  business entities have been issued to Defendant. Being fully informed, it is

         ORDERED AND ADJUDGED as follows:
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                                                         CASE NO. 10-21612-CIV-ALTONAGA

        1.     The Clerk of the Court is directed to issue a Writ of Execution presented by
               Judgment Creditors’ Counsel.

        2.     To the extent 75 Retail, 40 Retail, Century Drive, Sterlington, Texarkana,
               Pinnacle Fla. and Pinnacle Ill. have not issued stock certificates to Defendant,
               upon service of this Order those companies shall, within 5 days, issue and deliver
               those certificates to Judgment Creditors’ counsel, Phillips, Cantor, Shalek &
               Rubin, P.A., 4000 Hollywood Boulevard, Suite 500-N, Hollywood, Florida
               33021, so those newly issued certificates can be delivered to the U.S. Marshal for
               further disposition including sale for the benefit of Judgment Creditors;

        3.     Within 3 days of the date of this Order, Defendant, or the individual entities
               holding issued shares, shall turn over any issued stock certificates in 75 Retail, 40
               Retail, Century Drive, Sterlington, Texarkana Pinnacle Fla. and Pinnacle Ill. that
               are in his or its possession, custody or control to Judgment Creditors’ counsel at
               the address in paragraph 2 above, so that the those certificates can be turned over
               to the U.S. Marshal for further disposition including sale for the benefit of
               Judgment Creditors;

        4.     Defendant and 75 Retail, 40 Retail, Century Drive, Sterlington, Texarkana
               Pinnacle Fla. and Pinnacle Ill. are hereby enjoined from issuing, reissuing,
               transferring, encumbering, selling, assigning or otherwise disposing of
               Defendant’s shares to anyone other than as permitted by this Order; and

        5.     75 Retail, 40 Retail, Century Drive, Sterlington, Texarkana Pinnacle Fla. and
               Pinnacle Ill. are hereby enjoined and prohibited from paying any dividends,
               distributions, debts, settlements or other remuneration to Defendant or Pinnacle
               Fla.; and all such amounts owed to Defendant or Pinnacle Fla. be paid over to
               Judgment Creditors until the Judgment entered in this case for $1,055,572.72 is
               satisfied.

        DONE AND ORDERED in Chambers at Miami, Florida this 4th day of April, 2013.



                                                 _________________________________
                                                 CECILIA M. ALTONAGA
                                                 UNITED STATES DISTRICT JUDGE
  cc:   counsel of record




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